                05-44481-rdd       Doc 9692-6       Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit C-3
      In re Delphi Corporation, et al.                       Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT C-3 - UNTIMELY BOOKS AND RECORDS TAX CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED                    DATE               DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT                  FILED               DEBTOR


  STATE OF NEW JERSEY                        16546              Secured:                        02/20/2007   DELPHI CORPORATION
  COMPLIANCE ACTIVITY                                            Priority:                                   (05-44481)
  PO BOX 245                                               Administrative:      $1,158,884.07
  TRENTON, NJ 08695                                           Unsecured:
                                                                    Total:      $1,158,884.07


  STATE OF WISCONSIN                         16620              Secured:                        07/02/2007   DELPHI AUTOMOTIVE
  DEPARTMENT OF REVENUE                                          Priority:                                   SYSTEMS LLC (05-44640)
  PO BOX 8901                                              Administrative:
  MADISON, WI 53708-8901                                      Unsecured:            $4,528.25
                                                                    Total:          $4,528.25

                                   Total:       2                              $1,163,412.32




*UNL stands for unliquidated
                                                                      Page 1 of 1
